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 Attorneysfor Plaintiffs

                        UNITED STATE DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

 TRUSTEES ofthe REFRIGERATION,
 AIR CONDITIONING & SERVICE
 DIVISION(UA-NJ)PENSION FUND,et.                   Case No: 2:18-cv-02471-KSH-CLW
  al.,

                                     Plaintiffs,
                                                       DEFAULT JUDGMENT
  V.



  PENNETTA INDUSTRIAL
  AUTOMATION,LLC.
                                     Defendant.


         This matter having come before the Court on Plaintiffs' Request for Default

  Judgment, it is on this / ^ day of                           2018; and,
         ORDERED and ADJUDGED that the Plaintiffs recover of Defendant

  Pennetta Industrial Automation,LLC the sum of$26,173,39, which is inclusive of

  interest, liquidated damages, and attorneys' fees, as provided by law and to include

  additional interest thereon; and

         IT IS FURTHER ORDERED and ADJUDGED that this Court will retain
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 activejurisdiction over the enforcement an^continued litigatio^jif&isjnatter.


                                         itharine Sji^derf^U.S.l&T^
